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 8   Corrections and Rehabilitation

 9
                              IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                            OAKLAND DIVISION
12

13

14   JOHN ARMSTRONG, et al.,                                 C 94-2307 CW

15                                         Plaintiffs, DECLARATION OF ANTHONY
                                                       TARTAGLIO IN SUPPORT OF
16                  v.                                 DEFENDANTS’ ADMINISTRATIVE
                                                       MOTION TO FILE DOCUMENTS
17                                                     UNDER SEAL IN SUPPORT OF
     GAVIN NEWSOM, et al.,                             DEFENDANTS’ SUR-REPLY TO
18                                                     PLAINTIFFS’ MOTION FOR A
                                          Defendants. PERMANENT INJUNCTION AT SEVEN
19                                                     ADDITIONAL PRISONS AND
                                                       STATEWIDE [ECF No. 2948]
20
                                                             Judge:         The Honorable Claudia Wilken
21

22
           I, Anthony J. Tartaglio, declare as follows:
23
           1.    I am a member of the California State Bar, admitted to practice before this Court.
24
           2.    I am a Deputy Attorney General in the California Attorney General’s Office, and am
25
     counsel of record for Defendants in this matter.
26
           3.    I am competent to testify to the matters set forth in this declaration, and if called upon
27
     by this Court, would do so.
28
                                                         1
                         Tartaglio Declaration re Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
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 1         4.     Local Rule 79-5(e) requires Defendants to file documents or information designated

 2   by Plaintiffs as confidential under seal, and to provide a declaration identifying the document or

 3   portions thereof which contain the designated confidential material.

 4         5.     Defendants’ sur-reply includes documents containing inmates’ personal and

 5   identifying information, as well as information that would disclose the identities of inmate-

 6   witnesses and declarants (including medical records). Plaintiffs previously filed administrative

 7   motions to seal these categories of information. (ECF Nos. 2920, 2947.) Defendants did not

 8   object to Plaintiffs’ request to seal this information. (ECF Nos. 2925, 2950.) Instead, Defendants

 9   submitted declarations in support of sealing these categories of information, explaining the

10   importance of protecting the information of inmate witnesses, in addition to the significant safety

11   and security concerns associated with the public disclosure of this information. (ECF Nos. 2925

12   ¶ 11; 2950 ¶ 7.) The Court subsequently ordered that this information be sealed on September 9,

13   2020. (ECF No. 3062.)

14         6.     Defendants’ sur-reply and accompanying declarations also include documents that

15   have the first names of employees of the California Department of Corrections and Rehabilitation

16   (CDCR). Typically, for documents provided to inmates or the public, CDCR redacts the first

17   name (except for the first initial) of its employees. This is to protect the privacy and safety of its

18   employees.

19         7.     Defendants’ sur-reply and accompanying declarations discuss investigative

20   techniques used by CDCR staff while investigating allegations of staff misconduct, such as what

21   kinds of documents and witnesses are chosen for review and what kinds of questions are asked of

22   interviewees. CDCR considers these techniques to be confidential and believes that

23   disseminating these techniques would lead to inmates’ being able to better exaggerate or fabricate

24   allegations of staff misconduct.

25         8.     Therefore, Defendants have filed the following documents and information under seal

26   or have redacted portions of these documents (which includes exhibits to these documents):

27

28
                                                          2
                          Tartaglio Declaration re Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
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 1
                  Document:                                      Sealable Information:
 2   Allison Declaration                              Inmate identifying information.
 3   Arevalo Declaration                              Inmate identifying information.
                                                      CDCR staff first name redacted.
 4
     Castrejon Declaration                            Inmate identifying information.
 5
     Cicone Declaration                               Inmate identifying information.
 6                                                    Law enforcement investigative techniques.
 7
     Cleveland Declaration                            Inmate identifying information.
                                                      Law enforcement investigative techniques.
 8

 9   Cruz Declaration                                 Inmate identifying information.

10   Alvarez Declaration                              Inmate identifying information.
                                                      CDCR staff first name redacted.
11
     Estrada Declaration                              Inmate identifying information.
12
     Evans Declaration                                Inmate identifying information.
13                                                    CDCR staff first name redacted.

14   Fitzpatrick Declaration                          Inmate identifying information.
                                                      Law enforcement investigative techniques.
15
     Furlong Declaration                              Inmate identifying information.
16                                                    CDCR staff first name redacted.

17   Godoy Declaration                                Inmate identifying information.
                                                      CDCR staff first name redacted.
18
     Gonzales Declaration                             Inmate identifying information.
19                                                    Law enforcement investigative techniques.
20   Gurdian Declaration                              Inmate identifying information.
                                                      CDCR staff first name redacted.
21
     H. Hernandez Declaration                         Inmate identifying information.
22                                                    CDCR staff first name redacted.
23   Marchese Declaration                             Inmate identifying information.
                                                      Law enforcement investigative techniques.
24
     Mobley Declaration                               Inmate identifying information.
25
                                                      CDCR staff first name redacted.
26
     Piña Declaration                                 Inmate identifying information.
27                                                    Law enforcement investigative techniques.

28
                                                         3
                         Tartaglio Declaration re Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
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 1
                 Document:                                        Sealable Information:
 2   Pompa Declaration                                 Inmate identifying information.
                                                       CDCR staff first name redacted.
 3
     Rocha Declaration                                 Inmate identifying information.
 4                                                     CDCR staff first name redacted.
 5   Ronquillo Declaration                             Inmate identifying information.
                                                       CDCR staff first name redacted.
 6
     Silva Declaration                                 Inmate identifying information.
 7                                                     CDCR staff first name redacted.
 8
     Spencer Declaration                               Inmate identifying information.
                                                       Law enforcement investigative techniques.
 9

10   Ward Declaration                                  Inmate identifying information.
                                                       CDCR staff first name redacted.
11
     Wolfe Declaration                                 Inmate identifying information.
12                                                     CDCR staff first name redacted.

13   Ybarra Declaration                                Inmate identifying information.

14   Solano Declaration                                Inmate identifying information.
                                                       CDCR staff first name redacted.
15
     Quintero Declaration                              Inmate identifying information.
16                                                     CDCR staff first name redacted.

17   Katravas Declaration                              Inmate identifying information.
                                                       CDCR staff first name redacted.
18
     Siino Declaration                                 Inmate identifying information.
19                                                     CDCR staff first name redacted.
20   Bower Declaration                                 Inmate identifying information.
                                                       CDCR staff first name redacted.
21                                                     Medical records.
22   Barrios Declaration                               Inmate identifying information.
                                                       Law enforcement investigative techniques.
23
     Brown Declaration                                 Inmate identifying information.
24                                                     Law enforcement investigative techniques.
25   Chang-Lorenzo Declaration                         Inmate identifying information.
26
     Hancock Declaration                               Inmate identifying information.
27
     Hernandez Declaration                             Inmate identifying information.
28
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                          Tartaglio Declaration re Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
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 1
                  Document:                                      Sealable Information:
 2                                                     CDCR staff first name redacted.
 3   Martinez-Toledo Declaration                       Inmate identifying information.
 4   Muniz Declaration                                 Inmate identifying information.
 5   Neighbors Declaration                             Inmate identifying information.
                                                       CDCR staff first name redacted.
 6                                                     Law enforcement investigative techniques.
 7
     Pano Declaration                                  Inmate identifying information.
 8
     Pilkerton Declaration                             Inmate identifying information.
 9                                                     CDCR staff first name redacted.

10   Reed Declaration                                  Inmate identifying information.

11   Ruiz Declaration                                  Inmate identifying information.

12   Welch Declaration                                 Inmate identifying information.

13   E. Ruiz Declaration                               Inmate identifying information.
                                                       CDCR staff first name redacted.
14
     Beckham Declaration                               Inmate identifying information.
15                                                     CDCR staff first name redacted.

16   Brazil Declaration                                Inmate identifying information.
                                                       CDCR staff first name redacted.
17
     Cook Declaration                                  Inmate identifying information.
18                                                     CDCR staff first name redacted.
19   Grant Declaration                                 Inmate identifying information.
20
     Laughlin Declaration                              Inmate identifying information.
21                                                     CDCR staff first name redacted.
22   McTaggart Declaration                             Inmate identifying information.
                                                       CDCR staff first name redacted.
23
     Medina Declaration                                Inmate identifying information.
24
                                                       CDCR staff first name redacted.
25
     Nguyen Declaration                                Inmate identifying information.
26                                                     CDCR staff first name redacted.

27   Orr Declaration                                   Inmate identifying information.
                                                       CDCR staff first name redacted.
28
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                          Tartaglio Declaration re Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
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 1
                   Document:                                      Sealable Information:
 2   Sally Declaration                                 Inmate identifying information.
                                                       Law enforcement investigative techniques.
 3                                                     CDCR staff first name redacted.
 4   vanMastrigt Declaration                           Inmate identifying information.
                                                       Law enforcement investigative techniques.
 5                                                     CDCR staff first name redacted.
 6   Winkler Declaration                               Inmate identifying information.
                                                       CDCR staff first name redacted.
 7
     Wong Declaration                                  Inmate identifying information.
 8                                                     CDCR staff first name redacted.
 9
     Serrano Declaration                               Inmate identifying information.
10
     Bolton Declaration                                Inmate identifying information.
11
     Montoya Declaration 1                             Inmate identifying information.
12
     Khodabakshyan Declaration                         Inmate identifying information.
13
     Montoya Declaration 2                             Inmate identifying information.
14
     Ferrso Declaration                                Inmate identifying information.
15
     Makarade Declaration                              Inmate identifying information.
16
     Castellanos Declaration                           Inmate identifying information.
17
     Spencer Declaration LAC 1                         Inmate identifying information.
18                                                     CDCR staff first name redacted.
19   Spencer Declaration LAC 2                         Inmate identifying information.
                                                       CDCR staff first name redacted.
20
     Morales Declaration 1                             Inmate identifying information.
21
     Morales Declaration 2                             Inmate identifying information.
22
     Morales Declaration 3                             Inmate identifying information.
23

24   Hyde Declaration                                  Inmate identifying information.

25   Lizama Declaration                                Inmate identifying information.

26   Jones Declaration                                 Inmate identifying information.
                                                       CDCR staff first name redacted
27
     Watson Declaration                                Inmate identifying information.
28
                                                          6
                          Tartaglio Declaration re Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
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 1
                   Document:                                       Sealable Information:
 2    Frederick Declaration                             Inmate identifying information.
 3    Neve Declaration                                  Inmate identifying information.
 4    Fugate Declaration                                Inmate identifying information.
 5    Fralin Declaration                                Inmate identifying information.
 6
      Loera Declaration                                 Inmate identifying information.
 7
      Vasquez Declaration                               Inmate identifying information.
 8
      De La Cruz Declaration                            Inmate identifying information.
 9
      Ongaro Declaration                                Inmate identifying information.
10
      Almanza Declaration                               Inmate identifying information.
11
      Avalos Declaration                                Inmate identifying information.
12                                                      CDCR staff first name redacted

13    Sarmiento Declaration                             Inmate identifying information.

14    Hanks Declaration                                 Inmate identifying information.
                                                        CDCR staff first name redacted
15
      Cate Surreply Declaration                         Inmate identifying information.
16

17
          I declare under penalty of perjury that the foregoing is true and correct to the best of my
18
     knowledge. Executed in San Francisco, California, on November 17, 2020.
19
                                                                       /s/ Anthony Tartaglio
20                                                                   Anthony J. Tartaglio
                                                                    Deputy Attorney General
21
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                           Tartaglio Declaration re Motion to Seal Sur-Reply to Motion for Injunction (C 94-2307 CW)
